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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et ai.,' Case No. 14-10979 (CSS)
Debtors. (Jointly Administered)

Re: D.I. 11428, 11863

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ORDER (A) APPROVING THE EFH DISCLOSURE STATEMENT,

(B) ESTABLISHING THE VOTING RECORD DATE, VOTING DEADLINE,
AND OTHER DATES, (C) APPROVING PROCEDURES FOR SOLICITING,
RECEIVING, AND TABULATING VOTES ON THE PLAN, AND (D) APPROVING
THE MANNER AND FORMS OF NOTICE AND OTHER RELATED DOCUMENTS

Upon the motion (the “Motion”)? of the EFH/EFIH Debtors for entry of an order
(this “Qrder”): (a) approving the Disclosure Statement for the First Amended Joint Plan of
Reorganization of Energy Future Holdings Corp., Energy Future Intermediate Holding
Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the Bankruptcy Code (as

modified, amended or supplemented from time to time, the “EFH Disclosure Statement”);

(b) establishing the voting record date, voting deadline, and other related dates for the First
Amended Joint Plan of Reorganization of Energy Future Holdings Corp., Energy Future
Intermediate Holding Company LLC, and the EFH/EFIA Debtors Pursuant to Chapter 11 of the
Bankruptcy Code (as modified, amended or supplemented from time to time, the “Plan’’);

(c) approving procedures for soliciting, receiving, and tabulating votes on the Plan; and

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
digits of their federal tax identification numbers is not provided herein. A complete list of such information
may be obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

2 Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.
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(d) approving the manner and forms of notice and other related documents, all as more fully
described in the Motion; and the Court having found that it has jurisdiction to consider the
Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and the Court
having found that consideration of the Motion and the relief requested therein is a core
proceeding pursuant to 28 U.S.C. § 157(b); and the Court having found that venue is proper
pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that notice of the Motion
was adequate and appropriate under the particular circumstances; and the Court having held a
hearing to consider the relief requested in the Motion (the “Hearing”); and upon consideration of
the record of the Hearing and all proceedings had before the Court; and the Court having found
and determined that the relief sought in the Motion is in the best interests of the Debtors’ estates,
their creditors, and other parties in interest; and the Court having found that the legal and factual
bases set forth in the Motion establish just cause for the relief granted herein; and any objections
to the requested relief have been withdrawn or overruled on the merits; and after due deliberation

and sufficient cause appearing therefor, it is hereby ORDERED:

1. The Motion is granted to the extent provided herein.
I. Approval of the EFH Disclosure Statement.
2. The EFH Disclosure Statement is hereby approved pursuant to section 1125 of the

Bankruptcy Code as providing Holders of Claims and Interests entitled to vote on the Plan with
adequate information to make an informed decision as to whether to vote to accept or reject the
Plan in accordance with section 1125(a)(1) of the Bankruptcy Code.

3. The EFH Disclosure Statement (including all applicable exhibits thereto) provides
Holders of Claims, Holders of Interests, and other parties in interest with sufficient notice of the
injunction, exculpation, and release provisions contained in Article VIII of the Plan, in

satisfaction of the requirements of Bankruptcy Rule 3016(c).
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Il. Approval of the EFH Disclosure Statement Hearing Notice.

4. The (a) EFH Disclosure Statement Hearing Notice, attached hereto as Exhibit 1
and incorporated by reference herein, filed by the Debtors and served upon all known creditors
of the EFH/EFTH Debtors in these chapter 11 cases in the manner described in the Motion, in the
Affidavit of Service [D.I. 11570], and on the record at the Hearing, (b) Notice Regarding Certain
Rescheduled Dates Related to the New E-Side Disclosure Statement [D.I. 11652], filed by the
Debtors and served upon the parties and in the manner described in the Affidavit of Service [D.I.
11663], and (c) notice of further revised dates related to the EFH Disclosure Statement, filed by
the Debtors on August 24, 2017 [D.I. 11814] and served upon the parties and in the manner
described in the Affidavit of Service [D.I. 11844], collectively constitute adequate and sufficient
notice of the hearing to consider approval of the EFH Disclosure Statement, the manner in which
a copy of the EFH Disclosure Statement (and exhibits thereto, including the Plan) could be
obtained, and the time fixed for filing objections thereto, in satisfaction of the requirements of
the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, and the Local
Bankruptcy Rules.

Ill. Approval of Key Dates and Deadlines with Respect to the Plan as to the EFH/EFIH
Debtors and the EFH Disclosure Statement.

5. The following dates are hereby established (subject to modification as necessary)
with respect to the solicitation of votes to accept, and voting on, the Plan:

a. September 6, 2017, as the date for determining: (i) the Holders of Claims
and Interests against the EFH/EFTH Debtors entitled to receive Solicitation
Packages; (ii) the Holders of Claims and Interests against the EFH/EFIH
Debtors entitled to vote to accept or reject the Plan; and (iii) whether
Claims have been properly transferred to an assignee pursuant to
Bankruptcy Rule 3001(e) such that the assignee can vote as the holder of
such Claim (the “Voting Record Date”);

b. the Debtors shall distribute Solicitation Packages to Holders of Claims and
Interests against the EFH/EFIH Debtors entitled to vote on the Plan within

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ten (10) business days after the Debtors file the final version of the EFH
Disclosure Statement with the Court (or as soon as reasonably practicable
thereafter) following entry of this Order (the “Solicitation Deadline’); and

October 30, 2017, at 4:00 p.m. (prevailing Eastern Time) as the deadline
by which all Holders of Claims and Interests against the EFH/EFIH
Debtors entitled to vote on the Plan must complete, execute, and return
their Ballots so that they are actually received by the Solicitation Agent on
or before such date and time, as applicable, pursuant to the Solicitation
Procedures (the “Voting Deadline”).

IV. Approval of the Form of, and Distribution of, Solicitation Packages to Parties
Entitled to Vote on the Plan as to the EFH/EFIH Debtors.

6. In addition to the EFH Disclosure Statement and exhibits thereto, including the

Plan and this Order, the Solicitation Packages to be transmitted on or before the Solicitation

Deadline to those Holders of Claims and Interests against the EFH/EFIH Debtors in the Voting

Classes entitled to vote on the Plan as of the Voting Record Date shall include the following, the

form of each of which is hereby approved:

a. the applicable Ballot and Master Ballot, substantially in the forms attached
hereto as Exhibit 2-A - 2-F;

b. the Cover Letter attached hereto as Exhibit 3;

c. the Confirmation Hearing Notice attached hereto as Exhibit 4;

d. the EFH Disclosure Statement (and exhibits thereto, including the Plan);

e. the cover letter from the EFH/EFIH Committee attached hereto as
Exhibit 9 (the “EFH/EFIH Committee Letter”); and

f. this Order (without exhibits, except for the Solicitation Procedures,
attached hereto as Exhibit 6).

7. The Solicitation Packages provide the Holders of Claims and Interests against the

EFH/EFIH Debtors entitled to vote on the Plan with adequate information to make informed

decisions with respect to voting on the Plan in accordance with Bankruptcy Rules 2002(b) and

3017(d), the Bankruptcy Code, and the Local Bankruptcy Rules.
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8. The EFH/EFIH Debtors shall distribute Solicitation Packages to all Holders of
Claims and Interests against the EFH/EFIH Debtors entitled to vote on the Plan on or before the
Solicitation Deadline. Such service shall satisfy the requirements of the Bankruptcy Code, the
Bankruptcy Rules, and the Local Bankruptcy Rules.

9, The EFH/EFIH Debtors are authorized, but not directed or required, to distribute
the Plan, the EFH Disclosure Statement, and this Order to Holders of Claims and Interests
against the EFH/EFIH Debtors entitled to vote on the Plan in CD-ROM format. The Ballots, the
Cover Letter, the EFH/EFIH Committee Letter, and the Confirmation Hearing Notice will only
be provided in paper form. On or before the Solicitation Deadline, the EFH/EFIH Debtors shall
provide (a) complete Solicitation Packages to the U.S. Trustee and counsel to the applicable
agents for the EFH/EFIH Debtors’ lenders and (b) the Order (in CD-ROM format) and the
Confirmation Hearing Notice to all parties on the 2002 List as of the Voting Record Date.

10. Any party who receives a CD-ROM, but who would prefer to receive materials in
paper format, may contact the Solicitation Agent and request paper copies of the corresponding
materials previously received in CD-ROM format (provided at the EFH/EFIH Debtors’ expense).

Il. The Solicitation Agent is authorized to assist the EFH/EFIH Debtors in
(a) distributing the Solicitation Package; (b) receiving, tabulating, and reporting on Ballots cast
to accept or reject the Plan by Holders of Claims and Interests against the EFH/EFIH Debtors;
(c) responding to inquiries from Holders of Claims and Interests against the EFH/EFIH Debtors
and other parties in interest relating to the EFH Disclosure Statement, the Plan, the Ballots, the
Solicitation Packages, and all other related documents and matters related thereto, including the
procedures and requirements for voting to accept or reject the Plan and for objecting to the Plan

as to the EFH/EFIH Debtors; (d) soliciting votes on the Plan as to the EFH/EFIH Debtors; and
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(e) if necessary, contacting Holders of Claims and Interests against the EFH/EFIH Debtors
regarding the Plan.

12. Each Nominee through which one or more Beneficial Holder(s) holds securities
as of the Voting Record Date is hereby ordered to distribute the Solicitation Package to the
Beneficial Holders for which they hold the securities within five (5) business days after receipt
of such Solicitation Package from the Solicitation Agent and obtain the vote of such Beneficial
Holders consistent with customary practices for obtaining the votes of securities held in “street
name,” in one of the following two ways:

a. Master Ballots: A Nominee may obtain the votes of Beneficial Holders by
forwarding to the Beneficial Holders the applicable unsigned Beneficial
Holder Ballot, together with the Solicitation Package, a return envelope
provided by, and addressed to, the Nominee, and other materials requested
to be forwarded. Each such Beneficial Holder may then indicate his/her or
its vote on the Beneficial Holder Ballot, complete the information
requested in the Beneficial Holder Ballot, review the certifications
contained in the Beneficial Holder Ballot, execute the Beneficial Holder
Ballot, and return the Beneficial Holder Ballot to the Nominee. After
collecting the Ballots, the Nominee shall, in turn, complete the applicable
Master Ballot provided to such Nominee by the Solicitation Agent, and
compile the votes and other information from the Beneficial Holder
Ballot, execute the Master Ballot, and deliver the Master Ballot to the
Solicitation Agent so that it is received by the Solicitation Agent before
the Voting Deadline. All Beneficial Holder Ballots returned by Beneficial
Holders must be retained by Nominees for inspection for at least one year
from the Voting Deadline.

b. Pre-Validated Ballots: A Nominee may pre-validate a Beneficial Holder
Ballot, by: (i) signing the applicable Beneficial Holder Ballot indicating
the name of the Nominee and the DTC participation number;
(ii) indicating on the Beneficial Holder Ballot the account number of the
Beneficial Holder, and amount of the securities held by the Nominee for
such Beneficial Holder; and (iii) forwarding such Beneficial Holder Ballot
together with the Solicitation Package and other materials requested to be
forwarded to the Beneficial Holder for voting. The Beneficial Holder may
then complete the information requested in the Ballot, review the
certifications contained in the Ballot, and return the Ballot directly to the
Solicitation Agent in the pre-addressed, postage paid envelope included
with the Solicitation Package so that it is received by the Solicitation
Agent before the Voting Deadline. A list of the Beneficial Holders to

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whom “pre-validated” Ballots were delivered should be maintained by the
Nominee for inspection for at least one year from the Voting Deadline.

V. Approval of the Confirmation Hearing Notice.

13. The Confirmation Hearing Notice, substantially in the form attached hereto as
Exhibit 4, constitutes adequate and sufficient notice of the hearing to consider approval of the
Plan, the manner in which a copy of the Plan could be obtained, and the time fixed for filing
objections thereto, in satisfaction of the requirements of the applicable provisions of the
Bankruptcy Code, the Bankruptcy Rules, and the Local Bankruptcy Rules. Upon the filing of a
supplement to the Scheduling Order’ establishing dates for certain Confirmation proceeding

deadlines, including the Confirmation Hearing (the “Scheduling Order Supplement’), the

Debtors shall revise and re-serve the Confirmation Hearing Notice. The EFH/EFIH Debtors
shall publish the Confirmation Hearing Notice (in a format for publication) in: (a) The Wall
Street Journal, USA Today, The Dallas Morning News, Houston Chronicle, Corpus Christi
Caller Times, Fort Worth Star-Telegram, and Waco Tribune-Herald and (b) on the restructuring
website established by Epigq, available at http://www.efhcaseinfo.com, in each case no later than
seven (7) days after the Solicitation Deadline and seven (7) days after entry of the Scheduling

Order Supplement (the “Publication Notice’).

VI. Approval of Notice of Filing of the Plan Supplement.

14... The EFH/EFIH Debtors are authorized to send notice of the filing of the Plan

Supplement, which will be filed and served no later than six (6) business days prior to the Voting

The “Scheduling Order” is the Amended and Superseding Order Scheduling Certain Hearing Dates and
Deadlines and Establishing Certain Protocols in Connection with Confirmation of the First Amended Joint
Plan of Reorganization of Energy Future Holdings Corp., Energy Future Intermediate Holding Company LLC,
and the EFH/EFIH Debtors Pursuant to Chapter I1 of the Bankruptcy Code [D.I. 11835], entered on
August 29, 2017.
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Deadline or such later date as may be approved by this Court, substantially in the form attached
hereto as Exhibit 7, on the date the Plan Supplement is filed pursuant to the terms of the Plan.

VII. Approval of the Form of Notices to Non-Voting Classes.

15. Except to the extent the EFH/EFIH Debtors determine otherwise, the EFH/EFIH
Debtors are not required to provide Solicitation Packages to Holders of Claims or Interests
against the EFH/EFIH Debtors in Non-Voting Classes, as such holders are not entitled to vote on
the Plan. Instead, on or before the Solicitation Deadline, the Solicitation Agent shall mail (first-
class postage prepaid) a Non-Voting Status Notice in lieu of Solicitation Packages, the form of
each of which is hereby approved, to those parties who are not entitled to vote on the Plan.
Holders of Unimpaired Claims that are deemed to accept the Plan in Classes Al, A2, A3, B1,
B2, B3, B4, and B9 will receive notice, substantially in the form attached hereto as Exhibit 5-A,
in lieu of a Solicitation Package.’ Holders of Impaired Claims against the EFH/EFIH Debtors
that are deemed to reject the Plan in Classes A13, Al5, B8, and B10 will receive notice,
substantially in the form attached hereto as Exhibit 5-B, in lieu of a Solicitation Package.

16. The EFH/EFIH Debtors will not provide the Holders of Intercompany Claims and
Interests in Classes A12, Al4, and B7 with a Solicitation Package or any other type of notice in
connection with solicitation.

17. The EFH/EFIH Debtors are not required to mail Solicitation Packages or other

solicitation materials to: (a) Holders of Claims and Interests against the EFH/EFIH Debtors that

Solely with respect to the Non-Voting Status Notice sent to Holders of Class B4 Claims - EFIH Second Lien
Note Claims, the Non-Voting Status Notice shall include the following language: “The Debtors will file
procedures and forms with respect to the Rollover Trust Investment Election concurrently with the Scheduling
Order Supplement (as defined below) and, prior to such filing (which shall be no later than November 21,
2017), the Debtors and the Plan Sponsor shall consult in good faith with the EFIH Second Lien Notes Trustee
regarding the Rollover Trust Investment Election procedures and forms.”

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have already been paid in full during these Chapter 11 Cases or (b) any party to whom the EFH
Disclosure Statement Hearing Notice was sent but was subsequently returned as undeliverable.

VIII. Approval of the Solicitation Procedures.

18. The EFH/EFIH Debtors are authorized to solicit, receive, and tabulate votes to
accept the Plan in accordance with the Solicitation Procedures attached hereto as Exhibit 6,
which are hereby approved in their entirety; provided, however, that the EFH/EFIH Debtors
reserve the right to amend or supplement the Solicitation Procedures where, in the EFH/EFIH
Debtors’ best judgment, doing so would help facilitate the solicitation process.

IX. Approval of Notices to Contract and Lease Counterparties.

19. | The EFH/EFIH Debtors are authorized to mail a notice of assumption or rejection
of any Executory Contracts or Unexpired Leases (and any corresponding Cure Claims),

substantially in the forms attached hereto as Exhibit 8-A and Exhibit 8-B, to the applicable

counterparties to Executory Contracts and Unexpired Leases that will be assumed or rejected
pursuant to the Plan (as the case may be), within the time periods specified in the Plan.

X. Miscellaneous.

20. Notice of the Motion as provided therein shall be deemed good and sufficient and
the requirements of the Local Bankruptcy Rules are satisfied by such notice.

21. Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,
9014 or otherwise, the terms and conditions of this Order shall be immediately effective and
enforceable upon its entry.

22. All time periods set forth in this Order shall be calculated in accordance with
Bankruptcy Rule 9006(a).

23. The Debtors are authorized to take all actions necessary to effectuate the relief.
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24. The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Wilmington, Delaware Gy)" ZA

Date: lin bur © , 2017 THE HONORABLE CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

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